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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig *
“Deepwater Horizon” in the Gulf * MDL NO.: 2179
of Mexico, on April 20, 2010 *
*
* SECTION J
This document relates to 2:10-cv-1926 *
*
* JUDGE BARBIER
* — MAG. JUDGE SHUSHAN
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MEMORANDUM IN SUPPORT OF RULE 59(E) MOTION TO ALTER OR AMEND
JUDGMENT DENYING COPELAND’S MOTION FOR TEMPORARY RESTRAINING
ORDER AND PRELIMINARY INJUNCTION, AND FOR COURT SUPERVISION

The plaintiffs — Copeland’s of New Orleans, Inc., Cheesecake Bistro, L.L.C., and Sweet

Fire and Ice, L.L.C. (collectively, “Copeland’s”) — submit this memorandum in support of their

motion for this Court to alter or amend its judgment denying Copeland’s motion for a temporary

restraining order and preliminary injunction, and for court supervision. Case No. 10-1156, Doc.
No. 328 (“Copeland’s motion”).

Copeland’s brings this motion because it believes this Court’s Judgment may have relied on

manifest factual errors contained in BP’s opposition, namely, BP’s assertion that Copeland’s did

not file a claim with BP. As will be shown below, that assertion is flat wrong. Not only did
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Copeland’s file a claim with BP, it did so twice. BP’s inability to keep track of its own claims
process (and who has or has not filed a claim) further supports Copeland’s original motion. It
reveals the manifest legal error in the legal arguments in BP’s opposition. Finally, allowing the
July 23 Judgment to stand would result in manifest injustice, as the legal basis argued by BP in
its opposition was that it would forsake its OPA obligation to maintain a claims process, an
argument that has manifested itself in recent developments regarding the establishment of the
Gulf Coast Claims Facility (“GCCF”) and the shutting down of BP’s claims program. Therefore,
Copeland’s believes that this Court should revisit its prior Judgment in light of the correct facts,
and that the Court should grant the relief originally requested by Copeland’s, particularly with
regard to the exercise of court supervision (or, alternatively, the appointment of a special master)
to ensure that BP (or the GCCF acting appropriately on behalf of BP) complies with all |
statutorily and Constitutionally required process in the establishment and maintenance of the
claims program.
L. Background

A. Copeland’s Motion, BP’s Opposition, and the Judgment

On July 8, 2010, the Copeland’s plaintiffs filed their initial Complaint in this matter. Case
No. 10-1926, Doc. No. 1.' On July 21, prior to the filing of any responsive pleadings, pursuant to
Federal Rule of Civil Procedure 15(a)(1) Copeland’s filed its First Amended and Supplemental:
Complaint. Doc. Case No. 10-1156, Doc. No. 327. Specifically, Copeland’s added a new First
Cause of Action for declaratory relief regarding relief under the Oil Pollution Act of 1990

(“OPA”), including allegations that BP is charged with the responsibility under OPA to

' This case was subsequently consolidated with case no. 10-1156 in the Eastern District of

Louisiana, prior to the lodging of MDL No. 2179. This Court then ordered that this case be
consolidated into the proceedings at MDL No. 2179. Doc. No. 15.

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administer a claims program, that OPA requires claimants to file a claim with the “responsible
party,” and seeking a declaration that, inter alia, Copeland’s is an eligible claimant under OPA.
Id. at | 18-20. Also on July 21, Copeland’s filed its motion for TRO and for court supervision,
Case No. 10-1156, Doc. No. 328, specifically seeking an injunction against BP directing BP and
anyone conducting claims on its behalf — including Kenneth Feinberg and the GCCF — to
publicize and advertise immediately any “zone of eligibility” standards or any other categorical
determination that certain classes of potential, claims will be denied; and asking this Court to
exercise supervision over the procedures employed by the GCCF in administering BP’s claims
responsibilities under OPA to ensure that those procedures comply with all statutory and
Constitutional requirements, or alternatively appoint a Special Master to perform this supervisory
role pursuant to Federal Rule of Civil Procedure 53.

BP filed its opposition to Copeland’s motion, relying primarily on the erroneous assertion
that none of the Copeland’s plaintiffs filed OPA claims with BP. BP repeated this assertion
throughout its opposition, using it as the underlying factual basis for almost every substantive
. point of analysis. Case No. 10-1156, Doc. No. 368, at pp. 1 (“[T]he three moving plaintiffs have
not even filed a claim, much less had a claim denied by BP or the [GCCF], as [OPA] requires
before any litigation like this is filed.”), 2 (“BP’s OPA claims process has been operating since
late April 2010 and is currently adjudicating and paying claims filed by individuals and
businesses. Despite this, plaintiffs [Copeland’s] have not filed OPA claims. Indeed, plaintiffs
have not pursued OPA claims even though they concede that, under OPA, ‘[u]pon either denial
of a claim or the passage of 90 days from presentment of a claim, a party may elect to seek relief
... through the courts through a substantive claim for damages against BP.”), 3 (“Plaintiffs

profess concern over the OPA claims process, but to date, they have not even submitted an OPA
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claim. or participated in the claims process.”); 3 (“[G]iven that plaintiffs have not submitted an
OPA claim, their complaint under OPA is not ripe and there is no case or controversy for this -
Court to decide.”), 4 (“By its terms, OPA precludes any court action unless and until an
individual or business has presented a claim to the claims facility and that claim has been denied.
Because plaintiffs have not submitted any OPA claim, their complaint about the OPA claims
process must be dismissed.”), 7 (“[C]ounsel for movants fail to mention a key fact in their brief
and complaint — their clients have not filed any claim through the BP claims process. ...
Plaintiffs’ complaints ring hollow in light of this indisputable and essential fact. The plaintiffs
(movants) have not even attempted presentment of their claim to BP (much less the GCCF).”)
(emphasis in original), 8 (“Plaintiffs have not even attempted to avail themselves of the claims
procedures granted by OPA, although they demonstrate in their brief that they are well aware of
the process and the OPA presentment requirement.”), 8 (“In the three months since [BP
commenced its claims process], not one of the plaintiffs has filed an OPA claim with BP.”), 9
(“[Njone of the plaintiffs have submitted a claim pursuant to the BP claims process currently in
place.”), 13 (“As their motion papers make clear, plaintiffs are aware of the claims process and
their rights under OPA; they have simply decided not to engage in that process to date. And
because they have not submitted any OPA claim, their purported concern about how a non-
existent claim would be administered by BP or the GCCF under Administrator Feinberg is pure
speculation, which is a legally insufficient basis for any injunctive relief.”), 15 (“Plaintiffs do not
allege here that they have complied with this OPA-mandated claims presentment requirement,
and BP’s records confirm that none of the three plaintiffs have filed an OPA claim.”), 18 (“Given
that plaintiffs have not even filed a claim or participated in the OPA claims process, they cannot

show any harm from denial of their motion.”).
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BP is patently, demonstrably wrong. Copeland’s has, on multiple occasions, filed claims
with BP’s claims process. Indeed, BP’s failure to recognize Copeland’s claims only serves to
underscore the need for this Court to supervise the claims process. In its July 23 Judgment, this
Court found that the Copeland’s plaintiffs “have not established their factual or legal burden of
proving that a temporary restraining order or a preliminary injunction should be issued at this
time.” To the extent that this Court’s ruling relied on the erroneous information contained in
BP’s opposition, this Court should reconsider.

B. Copeland’s Claim in the BP Claims Process

Despite BP’s repeated assertions to the contrary in its opposition, and the attestation in
the Declaration of Darryl Willis, Vice President-Resources for BP America Inc., attached to BP’s
opposition, that “none of the plaintiffs who have filed for declaratory relief and for an injunction
... have filed a claim through the above-described claims process for any alleged losses,” all
three of the Copeland’s plaintiffs have been pursuing claims through BP’s claims process since
prior to May 24, 2010.

Catherine Walston, a paralegal working with the undersigned, first filed claims on behalf
of each of the Copeland’s plaintiffs via BP’s online claims form at www.bp.com/claims prior to
May 24, 2010.° Despite instructions on the online form that she would be contacted via e-mail or
telephone with claims numbers for each of the Copeland’s entities, she did not recetve any such
contact from BP.* As a result, she called BP’s claims number multiple times to ascertain the
status of the claims; on the last of these calls, she was informed by BP’s claims personnel that up

to half of claims submitted through the online form were never fully processed and were never

Declaration of Darryi Willis (July 23, 2010) Céxh. A to Doc. No. 368, Case No. 10-

1156), at ] 9.
3 Affidavit of Catherine Walston (July 26, 2010) (Exh. A hereto), at § 2.
* Id. at 9§ 3, 4.
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assigned claims numbers.” Therefore, on June 24, 2010, after determining that the Copeland’s
claims roust have been lost, Ms. Walston completed the online forms for each of the three
Copeland’s entities a second time, and printed out the completed forms to retain a record of the
claims submission. On June 25, 2010, Ms. Walston received three emails with the claims
numbers for the Copeland’s claimants: 6866-124-177270 for Copeland’s of New Orleans, 6866-
124-177269 for Cheesecake Bistro, and 6866-124-177271 for Sweet Fire and Ice; three days
later, she also received letters addressed to Robert Kutcher, counsel of record for the Copeland’s
plaintiffs and one of the undersigned, dated May 24, 2010, and containing the same three claims
numbers.’ On July 9, 2010, Ms. Walston sent BP letters of representation on behalf of the
Copeland’s claimants.* Subsequently, Ms. Walston had multiple conversations with Ms.
Elizabeth Debenedetto, an interim claims adjuster assigned to the Copeland’s claims, including a
conversation on July 23 — the same day BP filed its opposition proclaiming that Copeland’s had
not filed any claims — wherein Ms. Debenedetto specifically confirmed the claims numbers for
the Copeland’s entities.”

Therefore, the “indisputable and essential”’® factual basis for the bulk of BP’s arguments
in its opposition, and the subject of an attestation by BP’s Vice President of Resources, who

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claims to have “responsibility for the BP claims process,”"’ is manifestly false. The confusion of

this claims process shows further why this Court should exercise oversight of the claims process.

° Id. at 19 4, 5.

6 Id. at 7 6, and at Exh. 1 to Ms. Walston’s Affidavit.

q Id. at J§ 7, 8, and Exhs. 2 and 3 to Ms. Walston’s Affidavit.

8 Id. at J 11, and Exh. 4 to Ms. Walston’s Affidavit.

9 Id. at J§ 12, 13.

BP’s Opposition, at 7.

M Declaration of Darryl Willis (July 23, 2010) (Exh. A to Doc. No. 368).

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IL. Analysis
A. Rule 59(e) Standard

-Federal Rule of Civil Procedure 59(e) provides a party 28 days from the entry of a
judgment to move to alter or amend that judgment. Fed. R. Civ. P. 59(e); see also Fed. R. Civ. P.
54(b) @[A]ny order or other decision, however designated, that adjudicates fewer than all of the
claims or the rights and liabilities of fewer than all of the parties does not end the action as to any
of the claims or parties and may be revised at any time before the entry of a judgment
adjudicating all the claims and all the parties’ rights and liabilities.”); In re Elevating Boats LLC,
286 Fed. Appx. 116, 122 (Sth Cir. 2008). Rule 59(e) specifically can be applied to orders
regarding requests for TROs. See McWaters v. FEMA, 408 F. Supp. 2d 221, 237 (E.D. La. 2006).

Factors to consider in ruling on a motion to alter or amend include
whether the judgment was based upon a manifest error of fact or
law and whether amendment is necessary to prevent manifest
injustice. Courts enjoy considerable discretion in addressing a
Rule 59(e) motion; however, relief under Rule 59(e) is an
extraordinary remedy that should be used sparingly. Courts
typically consider four factors in exercising their discretion: (1)
whether the judgment was based upon a manifest error of fact or
law; (2) whether the movant presents newly discovered or
previously unavailable evidence; (3) whether amendment is
necessary to prevent manifest injustice; and (4) whether an
intervening change in controlling law has occurred. In addition,
courts must attempt to strike the proper balance between two
competing imperatives: (1) finality, and (2) the need to render just
decisions on the basis of all the facts. Such a motion is not the
proper vehicle for rehashing evidence, legal theories, or arguments
that could have been offered or raised before the entry of
judgment, and thus courts will grant such a motion only to correct
manifest errors of law or facts or to present newly discovered
evidence.

id. at 238 (emphasis added). In addition, independent of the issue of the requested TRO,

Copeland’s requests that this Court exercise its power under Rule 59(e) to alter its judgment
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specifically with regard to its request for court supervision (or, alternatively, appointment of a
Special Master) of the claims process.

Tt is fully within this Court’s jurisdiction to reopen the Judgment to consider further
evidence and ensure that it has all of the facts before it. See Lavespere vy. Niagara Machine &
Tool Works, Inc., 910 F.2d 167, 174 (Sth Cir. 1990), overruled on other grounds, Little v. Liquid
Air Corp., 37 F.3d 1069 (5th Cir. 1994); see also Hale v. Townley, 45 F.3d 914, 921 (5th Cir.
1995). For example, in United States v. Casita Enterprises, Inc., 2010 WL 935379 (Sth Cir.
March 16, 2010) (unpub.), the United States sought to recover costs of fire abatement under 28
U.S.C. § 2415(b), which requires proof that the lands on which the wildfire occutred be owned
by the federal government. Although the allegations in the United States’ complaint supported
this triggering condition, the district court granted a summary judgment in favor of the
defendants on the basis that the United States had not established ownership of the lands at issue.
Id. at *1-2. The United States sought by a Rule 59(e) motion to introduce evidence of the
government’s ownership of the land. /d. at *2. On appeal of the district court’s summary
judgment and denial of Rule 59(e) relief. the Fifth Circuit held that the-district court abused its
discretion in not vacating the summary judgment in favor of the defendants in the face of the
proof of ownership provided by the United States in its Rule 59 motion. /d. at *2. Likewise, here
the Court should consider the evidence attached to this Rule 59 motion where it establishes
conclusively that the Copeland's plaintiffs are claimants in the BP claims process (and have been
since May 2010), thus refuting BP’s assertion that Copeland’s is not entitled to raise its claims

for declaratory and injunctive relief and its request for court supervision.
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B. Manifest Error of Fact

As detailed above, the “key” and “indisputable and essential fact” identified by BP in
its opposition was that the Copeland’s plaintiffs had failed to file OPA claims in the BP claims
process. No less than a dozen times in BP’s opposition did it rely on this assertion, and it
featured, as well, in Mr. Willis’s declaration attached to the BP opposition. This assertion was
material to BP’s position, and it is patently untrue. Not only did the Copeland’s plaintiffs filed
claims two months prior to the filing of BP’s opposition, but they did so twice because BP
appeared to. have lost track of the claims the first time.’? While Copeland’s doubts that BP’s
misrepresentation of these facts was deliberate, it is nevertheless telling that BP is unable to keep
track of the claimants that have entered its claims process and administer this process efficiently.

Here the Court’s Judgment appears to rely on BP’s erroneous assertion that Copeland’s
had not filed a claim (and the arguments that flowed therefrom). Under these circumstances,
Copeland’s urges this Court to exercise its Rule 59(e) discretion to reopen its motion and alter or
_amend the Judgment to reflect a ruling based on the actual facts of the matter.

C. Manifest Error of Law

In addition to basing its analysis on a patently mistaken presentation of the facts, BP’s
arguments in its opposition have led to manifest error of law in the Judgment. First, BP’s legal
arguments as to this Court’s authority to grant relief with regard to the OPA claims process
conflate that issue with the completely distinct issue of whether the Court has authority to grant
relief with regard to the substance of particular OPA damages claims. Second, BP admits that

the GCCF process to which it is transitioning is outside of the OPA statutory framework, such

2 BP’s opposition, at 7.

B Affidavit of Ms. Walston, Exh. A hereto.
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that moving forward without the Court supervision requested by Copeland’s would result in clear
legal error.

While the substance of claims for damages pursuant to OPA may be subject to OPA’s
presentment requirement, questions as to whether the procedure employed by or on behalf of BP
in administering the claims scheme is fair and comports with all statutory and Constitutional
requirements are well within this Court’s jurisdiction. OPA provides a strict liability regime for
certain defined types of damages resulting from a discharge of oil into navigable waters or upon
adjoining shorelines, See 33 U.S.C. § 2702(a). OPA also provides that federal district courts
“shall have exclusive original jurisdiction over all controversies arising under this Act.” 33
U.S.C. § 2717(b) (emphasis added). Nevertheless, BP claims that the presentment requirement in
33 U.S.C. § 2713(a) operates to limit this Court’s jurisdiction over “all controversies” pending
completion of the presentment requirement. Section 2713, however, expressly only applies to
claims for damages or removal costs. 33 U.S.C. § 2713(a). It does not apply to other
controversies arising under OPA, and the “all controversies” provision of § 2717(b) confers
unqualified jurisdiction on this Court to entertain controversies beyond those that are limited to
the substance of a damages or removal costs claim. BP finds significant that there is no specific
provision for judicial review of the process put in place by a responsible party to govern § 2713
claims,"* yet BP’s focus solely on § 2717(a) as one source of judicial remedy (for challenges to
regulations promulgated under OPA) completely reads out of the statute the “all controversies”
language in § 2717(b). Such a construction is anathema to the statutory construction principles
applied by the federal courts. In re: Southern Scrap Material Co., LLC, 541 F.3d 584, 594 (Sth

Cir. 2008).

M4 BP’s opposition, at 16.

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The nature of the declaratory and injunctive relief sought by Copeland’s at this stage does
not run afoul of the presentment requirement of the OPA claims program. The damages sought in
Copeland’s First ‘Amended and Supplemental Complaint arise solely under state law, while the
OPA relief that Copeland’s seeks in that complaint is limited to the administration of the
procedures and standards applied in the BP claims process. The only forum in which Copeland’s
is currently seeking damages under OPA is in the claims that the Copeland’s claimants have
filed (twice) with BP.’* The specific relief sought from the Court in the Copeland’s motion is not
a substantive determination of the merits of the claims being pursued through BP’s claims
scheme, but is oversight over the procedures that govern the implementation of that scheme. The
presentment requirement in OPA does not foreclose the exercise of such jurisdiction, nor are the
jurisdictional or statute of limitations provisions at 33 U.S.C. § 2717 in any way qualified so as
to preclude the exercise of jurisdiction to provide the procedural supervision sought by
Copeland’s.

The cases cited in BP’s opposition regarding the presentment requirement are all cases
concerned with whether claimants may bring the substance of their OPA damages claims to a
court prior to engaging in the presentment process. See Boca Ciega Hotel, Inc. vy. Bouchard
Transp. Co., 51 F.3d 235, 237-38 (11th Cir. 1995) (specifying that a “claim” subject to the
presentment requirement is specific to a claim for damages or removal costs under 33 U.S.C. §
2701(3)); Gabarick v. Laurin Mar. (Am.) Inc., 2009 WL 102549, *2 (E.D, La. Jan. 12, 2009);
Turner v. Murphy Oil USA, Inc., 2007 WL 4208986 (E.D. La. Nov. 21, 2007); Abundiz v.
Explorer Pipeline Co., 2003 WL 23096018, *1 (N.D. Tex. Nov. 25, 2003); Marathon Pipe Line

Co, v. LaRoche Indus., Inc., 944 F. Supp. 476, 477-79 (E.D. La. 1996) (refusing to extend §

is Indeed, according to materials recently released by the GCCF and BP, it appears

Copeland’s may have to file these materials a third time with the GCCF.
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2713(a)’s presentment requirement beyond the limited provisions of the statute); U.S. v. Murphy
Expl. & Prod. Co., 939 F. Supp. 489, 490 (E.D. La. 1996); /ohnson v. Colonial Pipeline Co., 830
F. Supp. 309, 310 (E.D. Va. 1993). While courts have found that OPA’s presentment
requirement prevents a party from bringing a claim for recovery of damages under OPA to a
court before engaging in the 90 days’ claims scheme under 33 U.S.C. § 2713(a), those decisions
concern only whether a court can hear the merits of the claim for OPA damages, not whether a
court’s § 2717 jurisdiction is precluded as to issues regarding the procedures employed in the
claims scheme. See, e.g., Gabarick v. Laurin Maritime (America) Inc., 623 F. Supp. 2d 741, 750-
51 (E.D. La. 2009); see also Tanguis v. M/V Westchester, 153 F. Supp. 2d 859, 867 (E.D. La.
2001). -

Indeed, in one of the cases cited in BP’s opposition, Marathon Pipe Line, this Court.
refused to extend the presentment requirement of § 2713{a) to a claim by a designated
responsible party against a possible sole-cause third party:

Congress specifically limited the treatment of a sole cause third
party as a responsible party to the determination of liability.
Congress could have adopted a more expansive treatment of a sole
cause third party as the responsible party in § 2702(d){1)}(A) ...,
but did not do so. ... The Court can only conclude where
[Congress] did not include such a cross-reference in a particular
provision, Congress did not intend for another provision to apply.
Accordingly, absent such language, the Court will not read into

the statute a presentation requirement that Congress did not
include.

944 F. Supp. at 478-79 (emphasis added). Where OPA fails to address a particular aspect of a
claim arguably otherwise arising under OPA, such as particular procedural oversight to be
employed in the initial presentment scheme, this Court is free to exercise its “all controversies”
jurisdiction under § 2717(b). See also Nat'l Shipping Co. of Saudi Arabia v. Moran Mid-Atlantic

Corp., 924 F, Supp. 1436, 1454 (E.D. Va. 1996) (holding that, where OPA does not provide

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specifically applicable provisions to a dispute, courts may “bridge the gap” by applying general
maritime law).

Furthermore, BP’s opposition and the supporting materials attached to the opposition
suggest that BP anticipates that the GCCF will operate outside the parameters authorized in
OPA, resulting not in an “extra-judicial,” but an extra-legal scheme with no basis in any law.
Lacking court supervision, this result would be clear legal error. As BP concedes ~ indeed, urges
— throughout its brief, the presentment requirement of § 2713(a) is a critical component of the
OPA scheme. As BP admits, “[t]he public interest is best served in this matter by effectuating
and enforcing Congress’ intent as expressed in OPA[.]""° Congress’s intent was to provide a
limited window within which claimants would present claims to the responsible party and
negotiate a quick and fair resolution of those claims with the responsible party. See 33 U.S.C. §
2713(a) (“[A]H claims for removal costs or damages shall be presented first to the responsible
party or guarantor of the source designated under section 2714(a) of this title.”); see also
Johnson, 830 F. Supp. at 310-11 (“The purpose of the claim presentation procedure is to promote
settlement and avoid litigation.”).

Yet, BP also concedes that the GCCF, to which it acknowledges it will be transitioning
its claims program,'’ is a “process that is being established under the auspices of the Executive
Branch.”!* BP has also repeatedly characterized the GCCF process as an “independent claims

process.””” BP stresses that the GCCF process is subject to parameters dictated in a White House

"6 BP’s Opposition, at 19 (emphasis added).

4 Declaration of Darryl Willis (July 23, 2010) (Exh. A to Doc. No. 368, Case No. 10-
1156), at ] 8; see also Declaration of Geir Robinson (July 23, 2010) (Exh. B to Doc. No. 368,
Case No. 10-1156), at § 1.

! BP’s opposition, at 19.

Declaration of Geir Robinson (July 23, 2010) (Exh. B to Doc. No. 368, Case No. 10-
1156), at § 6.

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“Fact Sheet,” demonstrating the GCCF’s independence from BP.”° BP has adopted Kenneth

“21 Aside from these

Feinberg’s own testimony that the GCCF will be “totally independent.
positions taken by BP prior to this Court’s July 23 Judgment, recent developments have
confirmed that BP is actively backing away from its OPA-defined duty. In a press release issued
by BP on August 17, 2010, BP announced that it “is in the final stages of preparing to transfer
responsibility for individual and business claims related to the oil spill in the Gulf of Mexico to
the Gulf Coast Claims Facility (GCCF) on August 23.” BP confirmed that it is shutting down
its own claims program: “BP will accept new claims into its system through Wednesday, August.
18. From August 19-22, individuals and businesses will be asked to file a claim when the GCCF
is operational on August 23.”" Lest there be any ambiguity, BP reiterated, “Effective August 23,
GCCF will be the only authorized organization managing business and individual claims related
to the Deepwater Horizon Incident,”4

Despite BP’s characterization of GCCF as an “authorized organization” in its press
release announcing its abdication of its claims responsibilities under OPA, there is no authority
within OPA for a responsible party to delegate its claims responsibility to a totally independent

claims administrator. There is no authority within OPA for the Executive Branch to engineer

alterations to the claims process in § 2713. OPA is clear that claimants must bring their claims to

0 Id. at 99 6-7.

2 id. at | 9; see also Testimony of Kenneth R. Feinberg to the U.S. House of
Representatives Committee on Small Business (June 30, 2010) (Tab 2 to Exh. B to Doc. No.
368, Case No. 10-1156); Testimony of Kenneth R. Feinberg to U.S. House of Representatives
Committee on the Judiciary (July 21, 2010) (Tab 3 to Exh. B to Doc, No. 368, Case No. 10-
1156).
*2 “BP Readies to Transfer to Gulf Coast Claims Facility as Claim Payouts Top $368
Million” (Aug. 17, 2010) (available at

http://www.bp.com/genericarticle.do?categorylId=2012968&contentId=7064522) (Exh. B

hereto).
3 Id.
24 Id

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the responsible party, and does not provide that claimants must being their claims to an extra-
statutory third party. That BP is now advocating that Copeland’s requested relief should be
denied because the GCCF is “totally independent” suggests manifest legal error if this is the
basis for the Court’s Judgment. If BP is preparing to completely abdicate its statutorily defined
role in the OPA claims process, then the questions asked in Copeland’s motion with regard to
court supervision over the establishment of the GCCF procedures are even more critical. Indeed,
to the extent that BP is no longer fulfilling its obligation as an OPA “responsible party” to
maintain a claims process, then there is no OPA claims process to which claims can be
presented. In this case, Copeland’s suggests that the issue is now ripe whether the OPA
presentment requirement has been waived by BP.

In response to Copeland’s request for injunctive relief, BP asserts that Copeland’s has
adequate relief available in the form of money damages under OPA, but this completely misses
the thrust of Copeland’s argument. First, as discussed above, the relief requested by Copeland’s
is with regard to the standards and procedures employed in the BP claims process, either by BP
or by the GCCF (assuming that the GCCF is operating on BP’s behalf), not relief with regard to
any particular disposition of Copeland’s claims. Monetary damages would be an adequate
remedy for the latter, but not for the former. Each of the arguments by BP in its opposition to the
request for injunctive relief depend either on the manifest factual error that Copeland’s has filed
no claims or on the legal error manifest in this conflation of the request for relief on the
procedure governing BP’s claims process with the request for relief on the merits of Copeland’s

OPA damages claims. Because Copeland’s does not request that this Court review the merits of

25 In fact, in a “Frequently Asked Questions” document put out by the GCCF, the GCCF

represents plainly, “Individuals and Businesses should no longer present claims to BP.” Gulf
Coast Claims Facility Frequently Asked Questions, at J 1.5 (Exh. C hereto).

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its OPA damages claims at this time (which claims have been properly before BP for almost
three months now), any Judgment based on the cases cited by BP regarding compliance with the
presentment requirement before the substance of damages claims may be brought to a court is
inappropriate. For example:

e BP argues that Copeland’s has no irreparable harm because the plaintiffs have the
potential for a lawsuit for monetary damages.”° Monetary damages based on standards
and procedures that do not comply with statutory and Constitutional guarantees, however,
will be inadequate, particularly where BP is able to manipulate when presentment occurs
by losing claims and shuffling claimants from one adjuster to another,”’ causing severe
delay to the plaintiffs’ (and other claimants’) exercise of their right to seek judicial
review.

e BP also argues that Copeland’s has no irreparable harm from the chilling of legitimate
claims because Copeland’s has not submitted any claims to the process.”® Of course, as
demonstrated above, this circular argument has no basis in fact, leaving intact Copeland’s
argument that the chilling of claims represents an irreparable harm.

e BP’s argument that Copeland’s has no likelihood of success on the merits is based on the
faulty premise that Copeland’s had not filed a claim and the mistaken legal premise that
relief with respect to the standards and procedures of the claims process must first be

“presented” to BP.””

26 BP’s opposition, at 12.

at Affidavit of Catherine Walston (July 26, 2010) (Exh. A hereto), at J 4, 5, 9, 10, 14; see
also Affidavit of Jeffrey Berniard (July 26, 2010) (Exh. D hereto), at $f 5-11.

28 BP’s opposition, at 13.

29 BP’s opposition, at 14-15.

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BP’s argument that Copeland’s does not have a substantial likelihood of success on the
merits because there is no specific provision in OPA for judicial review of the procedures
employed by a responsible party is legally incorrect because it ignores the “all
controversies” provision of 33 U.S.C. § 2717(b).°°

BP’s argument that the balance of harms weighs in its favor is completely without any
legal or factual basis.*' The only injunctive relief sought by Copeland’s is that BP and
those acting on its behalf publicize the parameters of any “zones of eligibility” — widely
discussed by Mr. Feinberg and not disputed by BP in its opposition — so that claimants
can know that they have been effectively denied and can move more quickly to judicial
review. BP argues that this would somehow harm claimants and would impede the goal
of an efficient and effective claims process, but does not explain how. Indeed, if BP or
the GCCF would publicize up front the basis for their predeterminations of eligibility for
certain categories of claimants, the boundaries of these “eligibility zones,” then the
claims process would be vastly streamlined and important questions of OPA applicability
could be more quickly answered by the courts when the merits of claimants’ claims may
then be brought to the Fund or to courts for review. As Mr. Feinberg himself is reported

to have stated, however, BP has been “stalling.”*

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BP’s opposition, at 15-18.
BP’s opposition, at 18-19.
Leigh Coleman, “BP stalls payments to oil spill victims: Feinberg,” Reuters (July 24,

2010) (available at http://www.reuters.com/article/idUSTRE66N 15020100724) (Exh. C hereto)
CT have a concern that BP is stalling claims. Yes, BP is stalling. I doubt they are stalling for
money. It’s not that. I just don’t think they know the answers to the questions (by the
claimants),’ Feinberg told reporters.” (emphasis added). See Galaviz v. Post-Newsweek Stations, .
2009 WL 2105981, *5 & n.51 (W.D. Tex. July 13, 2009) (observing that courts may take judicial
notice of newspaper articles on a particular subject matter, not as proof of the matters asserted
therein, but as proof of the existence of the articles and the fact of publication of the subject
matter).

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° BP’s argument that Copeland’s requested relief disserves the public interest in
compliance with the OPA presentment process” is belied by the fact that BP concedes
that it is preparing to bow out of its role in the presentment process, and again does not
explain how the requested injunctive relief will impede the OPA claims process rather
than streamline it. Indeed, as recent developments have shown, BP is shutting down its
claims process, even knowing that its August 18 shut-down will leave a gap before the
“independent” GCCF will begin accepting claims on August 23,

As for the independent relief sought by Copeland’s — court supervision over the
procedures put in place by BP and any entity acting on its behalf — the shifting shell games
played by BP — losing claims, accepting claims anew, communicating regarding and confirming
claims, denying claims exist, arguing that the OPA presentment requirement must be complied
with, then implying that it doesn’t have to perform its role in the OPA presentment requirement
by relying in defense of its actions on the assertion that the GCCF is operating totally
independently — suggest that the danger is great that, to the extent it relied on BP’s erroneous
opposition, the Judgment contained legal error.

D. Manifest Injustice

Aside from the manifest factual and legal errors in any Judgment that is based on the
arguments put forth in BP’s opposition, it is becoming ever clearer that court supervision is
required to prevent manifest injustice. In confirming the existence of the claims lodged by the
Copeland’s claimants, the undersigned counsel also confirmed that the Copeland’s claim was (1)
lost at least once; (2) shuffled from the claims center to the Legal Department; and (3) will not

even be handled by its current assigned adjuster but will be shuffled again to a “Large Loss

33 BP’s opposition, at 19-20.

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Claims” adjuster." Additionally, Ms. Walston attests that she has been informed by BP claims
center personnel that claimants represented by counsel are not allowed to use BP’s toll-free
claims line.*® This experience of BP losing claims or claims materials, and of being shuffled
from one adjuster to another, is not unique to the Copeland’s claims.*® Indeed, after filing the
imitial motion at issue here, counsel for Copeland’s was contacted by Jeffrey Berniard, counsel
for another claimant, who reported (and attests in an attached affidavit) that he has been
informed by BP claims adjusters that his client’s claims are of a “type that is not being paid” —
supporting the media reports that BP has a categorical approach to claim eligibility — but that BP
would not issue a former denial because claims are not being denied at this time, just not paid.>’
Mr. Feinberg of the GCCF has recently been reported to have characterized BP’s claims process
as a “black hole”: ““No more beating up on BP. BP leaves the scene, Feinberg said at a meeting
here with hundreds of spill claimants. ‘If you file an eligible claim and document it, we
guarantee to process personal claims within 48 hours.... If you’re a business and you’ve been
waiting for months in a black hole with BP, you will get an answer within seven days.””*

While these incidents show that BP has, indeed, been “stalling,” that it is seeking to delay
litigation by deliberately withholding formal denials while at the same time relying on

unpublished categorical treatment to effectively deny classes of claims, BP argues that this is

actually permissible. BP argues that there is no provision for a court to supervise or review such

Affidavit of Catherine Walston (July 26, 2010) (Exh. A hereto), at 94] 4, 5, 9, 14.

Id. at § 10.
36 Affidavit of Jeffrey Berniard (July 26, 2010) (Exh. D hereto), at {] 2-7, 8-9.
7 Affidavit of Jeffrey Berniard (July 26, 2010) (Exh. D hereto), at 97 10-11. :
38 Kim Murphy, “Mediator takes reins on gulf oil spill claims,” Los Angeles Times (Aug.
19, 2010) (available at http://latimes.com/news/nationworld/nation/la-na-oil-spill-claims-
20100819,0,5676447.story) (Exh. E hereto).

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procedural approaches to the OPA claims process,” such that it can operate its claims program in
such a manner with impunity. BP then argues that this is perfectly acceptable, that “there is no
duty owed to the plaintiffs for the responsible party to conduct the OPA presentment requirement
in any particular way.”"° According to BP’s view, it may be held to any standard or no standard
at all; it can conduct its claims procedure in such a way as to abdicate responsibility altogether,
to lose claims materials, to indefinitely delay “presentment” of claims so as to delay judicial
review through arbitrary rules regarding contact with claimants or accumulation of materials or
shuffling of claims among adjusters and departments, with no role for the courts to protect
claimants from such abuses.*’ OPA is novel among federal statutes in delegating control of a
prerequisite claims process to a private party responsible for the loss, rather than a government
agency. Conduct of a government agency is at least governed by the Administrative Procedure
Act’s “arbitrary and capricious” standard. See Medina County Envtl. Action Ass'n v. Surface
Transp. Bd., 602 F.3d 687, 699 (Sth Cir. 2010) (describing the APA “arbitrary and capricious”
standard as requiring court scrutiny as to whether “the agency considered the relevant factors in
making the decision, its action bears a rational relationship to the statute’s purposes, and there is

substantial evidence in the record to support it”); cf Schexnayder v. Hartford Life & Acc. Ins.

BP’s opposition, at 16.

ed.

Now, of course, with the filing of claims with BP by claimants such as Copeland’s

- nearing the 90-day mark, the GCCF is indicating that claims will need to be refiled with it. See
Gulf Coast Claims Facility Frequently Asked Questions, at § 1.4 (“If you have previously filed a
claim with BP your information will be transferred to the GCCF. You must complete a GCCF
Claim Form if you intend to apply to receive Emergency Advance Payments or a Final
Payment for your damages or losses through the GCCF. You will be assigned anew GCCF
Claimant Identification Number.”) (emphasis in original) (Exh. C hereto). Will this further push
back the commencement of the presentment period? Is it even presentment at all, where BP is the
responsible party and there is no authority for a completely independent claims process with BP
“leav[ing] the scene.” Kim Murphy, “Mediator takes reins on gulf oil spill claims,” Los Angeles
Times (Aug. 19, 2010) (available at http://latimes.com/news/nationworld/nation/la-na-oil-spill-
claims-20100819,0,5676447.story) (Exh. E hereto).

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Co., 600 F.3d 465, (Sth Cir. 2010) (noting that ERISA plan fiduciaries’ decisions are subject to

the same type of “arbitrary and capricious” judicial review). BP’s view of OPA, however, is that

the corporate malfeasor can operate without even this level of scrutiny — indeed, without any

scrutiny. This is a manifest injustice that must be prevented. °

TH. Conclusion

For these reasons, Copeland’s requests that this Court alter or amend its Judgment to take

into account the full and accurate facts of Copeland’s claims, as well as the appropriate legal

standards to apply to those claims. |

Respectfully submitted,

/s/ James M. Garner

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CERTIFICATE OF SERVICE

I hereby certify that on August 19th, 2010, I filed the foregoing pleading via CM/ECF
with the Clerk of Court of the United States District Courthouse for the Eastern District of
Louisiana, 500 Poydras Street, New Orleans, Louisiana, and also delivered a copy on Defendant
BP PLC via hand delivery to Don K. Haycraft, local counsel.

/s/ James M. Garner

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